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                         Exhibit 13
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From:            Liz Boydston
To:              FudgeBernal, Tangla L. (HHS/OGC)
Cc:              Aharon Kaye; Wolfe, Daniel (HHS/OGC); Fenton, Ashley (HHS/OGC); Whitney.Tharpe@usdoj.gov
Subject:         RE: Remarkable Fort Worth
Attachments:     image001.png
                 Remarkable Letter to CMS with attachments.pdf


Ms. Fudge-Bernal,

On behalf of Remarkable Healthcare of Fort Worth requesting CMS to abate, halt, or
reconsider the Imposition of Remedies dated April 3, 2024, and setting forth why allowing
the Fort Worth Facility to remain open and operational through the CHOW process that
began on March 1, 2024 is in the best interests of the patients, residents, and the
government.

Thank you and we are available at your convenience to discuss, answer questions, provide
further info, etc.

Best,

Liz Boydston (she/her)
Partner



10440 N. Central Expressway, Suite 800 / Dallas, Texas 75231
p / (469) 895-4413 c / (214) 403-7901 f / (469) 895-4413
lboydston@gutnicki.com / www.gutnicki.com


From: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
Sent: Friday, April 5, 2024 11:34 AM
To: Liz Boydston <lboydston@gutnicki.com>
Cc: Aharon Kaye <akaye@gutnicki.com>; Wolfe, Daniel (HHS/OGC) <Daniel.Wolfe@HHS.GOV>;
Fenton, Ashley (HHS/OGC) <Ashley.Fenton1@hhs.gov>; Whitney.Tharpe@usdoj.gov
Subject: Re: Remarkable Fort Worth

Ashley, add Liz's email to your contacts and this may solve that
issue. Let her know once you do.

Tangla L. Fudge-Bernal
Coordinating Attorney/CMS Enforcement
From: Liz Boydston <lboydston@gutnicki.com>
Sent: Friday, April 5, 2024 11:30 AM
To: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
Cc: Aharon Kaye <akaye@gutnicki.com>; Wolfe, Daniel (HHS/OGC) <Daniel.Wolfe@HHS.GOV>;
Fenton, Ashley (HHS/OGC) <Ashley.Fenton1@hhs.gov>; Whitney.Tharpe@usdoj.gov
<Whitney.Tharpe@usdoj.gov>
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Subject: RE: Remarkable Fort Worth

For some reason this morning Ashley’s email is giving me a bounce back that “the
government believes this is spam”

Ashley and I have been on Teams calls in this case in the last couple weeks, so unsure
why it’s coming up Spam.

Below is the info.
________________________________________________________________________________
Microsoft Teams Need help?
Join the meeting now
Meeting ID: 264 471 021 256
Passcode: xkDfwU

Dial-in by phone
+1 312-763-9891,,39926590# United States, Chicago
Find a local number
Phone conference ID: 399 265 90#
For organizers: Meeting options | Reset dial-in PIN
________________________________________________________________________________



Liz Boydston (she/her)
Partner



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p / (469) 895-4413 c / (214) 403-7901 f / (469) 895-4413
lboydston@gutnicki.com / www.gutnicki.com


From: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
Sent: Friday, April 5, 2024 11:24 AM
To: Liz Boydston <lboydston@gutnicki.com>
Cc: Aharon Kaye <akaye@gutnicki.com>; Wolfe, Daniel (HHS/OGC) <Daniel.Wolfe@HHS.GOV>;
Fenton, Ashley (HHS/OGC) <Ashley.Fenton1@hhs.gov>; Whitney.Tharpe@usdoj.gov
Subject: Re: Remarkable Fort Worth

Morning, can you resend? I am cc'ing everyone to ensure you
have their correct info.

Tangla L. Fudge-Bernal
Coordinating Attorney/CMS Enforcement
From: Liz Boydston <lboydston@gutnicki.com>
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Sent: Thursday, April 4, 2024 3:31 PM
To: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
Cc: Aharon Kaye <akaye@gutnicki.com>
Subject: RE: Remarkable Fort Worth

Yes, just sent the invite.

Liz Boydston (she/her)
Partner



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p / (469) 895-4413 c / (214) 403-7901 f / (469) 895-4413
lboydston@gutnicki.com / www.gutnicki.com


From: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
Sent: Thursday, April 4, 2024 3:27 PM
To: Liz Boydston <lboydston@gutnicki.com>
Cc: Aharon Kaye <akaye@gutnicki.com>
Subject: Re: Remarkable Fort Worth

Can you do schedule a call for 2:30 tomorrow central...and I will
add any additional people that need to attend on my end once I
receive the invite?

Tangla L. Fudge-Bernal
Coordinating Attorney/CMS Enforcement
From: Liz Boydston <lboydston@gutnicki.com>
Sent: Thursday, April 4, 2024 12:17 PM
To: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
Cc: Aharon Kaye <akaye@gutnicki.com>
Subject: RE: Remarkable Fort Worth

Understood, Tangla. Our availability tomorrow:

2:30pm-3:30pm
4:30-5:30pm

Thank you,

Liz Boydston (she/her)
Partner
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10440 N. Central Expressway, Suite 800 / Dallas, Texas 75231
p / (469) 895-4413 c / (214) 403-7901 f / (469) 895-4413
lboydston@gutnicki.com / www.gutnicki.com


From: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
Sent: Thursday, April 4, 2024 11:59 AM
To: Liz Boydston <lboydston@gutnicki.com>
Cc: Aharon Kaye <akaye@gutnicki.com>
Subject: Re: Remarkable Fort Worth

Afternoon,

Apologies, but we will need to reschedule the meeting. It's just
been brought to my attention that you've been working with a
couple other attorneys from my office (Dan Wolfe and Ashley
Fenton). I will need to pull them into the meeting as well and
need to figure out their availability. Please let me know what your
schedule looks like for tomorrow. Thanks.

Tangla L. Fudge-Bernal
Coordinating Attorney/CMS Enforcement
From: Liz Boydston <lboydston@gutnicki.com>
Sent: Wednesday, April 3, 2024 3:57 PM
To: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
Cc: Aharon Kaye <akaye@gutnicki.com>
Subject: RE: Remarkable Fort Worth

Hi Tangla,

My colleague Aharon Kaye and I just received the notice from CMS from our client
Remarkable and we are reviewing.

We are available tomorrow, April 4th between 1-2 pm central or 3-4 pm central. Would any
of those times work for you?

Liz Boydston (she/her)
Partner



10440 N. Central Expressway, Suite 800 / Dallas, Texas 75231
p / (469) 895-4413 c / (214) 403-7901 f / (469) 895-4413
lboydston@gutnicki.com / www.gutnicki.com


From: FudgeBernal, Tangla L. (HHS/OGC) <Tangla.Fudge-Bernal@HHS.GOV>
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Sent: Wednesday, April 3, 2024 1:15 PM
To: Liz Boydston <lboydston@gutnicki.com>
Subject: Remarkable Fort Worth

     DP3 Tech couldn't recognize this email as this is the first time you received an email from this
     sender Tangla.Fudge-Bernal@HHS.GOV


Afternoon Ms. Boydston,

I am counsel for CMS. CMS has informed me that you would like
to discuss CMS's enforcement action concerning Remarkable.
Please let me know when you are available for a call.

Your client should be receiving a CMS communication today or
tomorrow. It may be prudent to discuss once you have reviewed
the letter so that we both are operating from the same point of
reference.

Tangla L. Fudge-Bernal
Coordinating Attorney/CMS Enforcement

This communication may contain information that is legally privileged, confidential or exempt
from disclosure. If you are not the intended recipient, please note that any dissemination,
distribution, or copying of this communication is strictly prohibited. Anyone who receives this
message in error should notify the sender immediately by telephone or by return e-mail and
delete it from his or her computer.


This communication may contain information that is legally privileged, confidential or exempt
from disclosure. If you are not the intended recipient, please note that any dissemination,
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from disclosure. If you are not the intended recipient, please note that any dissemination,
distribution, or copying of this communication is strictly prohibited. Anyone who receives this
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message in error should notify the sender immediately by telephone or by return e-mail and
delete it from his or her computer.
       Case 4:24-cv-00337-O Document 5-2 Filed 04/18/24                      Page 8 of 13 PageID 403
                                                                                         Liz Boydston
                                                                                         lboydston@gutnicki.com
                                                                                         469.895.4413 direct
                                                                                         214.403.7901 mobile
                                                                                         10440 N. Central Expy., Ste. 800
                                                                                         Dallas, Texas 75231




April 8, 2024

VIA E-MAIL: tangla.fudge-bernal@hhs.gov

Ms. Tangla Fudge-Bernal
Coordinating Attorney/CMS Enforcement
The Centers for Medicare & Medicaid Services

Re:     REMARKABLE HEALTHCARE OF FORT WORTH
        CMS Certification Number (CCN): 676285

Dear Ms. Fudge-Bernal,

        On behalf of Remarkable Healthcare of Fort Worth (hereinafter the “Fort Worth Facility” or “Facility”),
Gutnicki LLP, as counsel, respectfully requests CMS to abate, halt, or reconsider the Imposition of Remedies
dated April 3, 2024, because allowing the Fort Worth Facility to remain open and operational through the CHOW
process that began on March 1, 2024 is in the best interests of the patients, residents, and the government for the
following reasons:

  A.    The Fort Worth Facility is the ONLY Facility in Fort Worth, Texas (population of 967,457) that accepts
        patients with Candidas Auris, Geri-Psych patients, and High Acuity patients.
         The Fort Worth Facility services nine (9) large hospitals who discharge a high quantity of patients needing
skilled nursing care each month. Therefore, both the community of Fort Worth—which, according to the Texas
Demographic Center, has a population of 967,457—and the government need this Facility to remain open.
         This Facility is one of the few facilities in Fort Worth that accepts higher acuity patients (patients whose
condition is severe and imminently dangerous), including being the only facility in Fort Worth that accepts patients
with candidas auris. This Facility is also one of the very few that accepts geri-psych patients—these patients,
specifically, have been kicked out of, and/or denied by, other facilities due to the erratic and hard-to-manage
behaviors associated with dementia and late-life depression and psychosis. The Fort Worth Facility has
successfully managed these geri-psych patients’ behaviors, focusing on each person’s individual needs, resulting
in them thriving at the Facility. The City of Fort Worth needs this Facility to stay open to treat, care for, and
rehabilitate these high acuity and high risk patients and residents.
         Additionally, the Facility is well known as specialty facility for wound care in Fort Worth. After a 2022
survey result regarding wound care, the Facility hired a full-time certified wound care nurse with vast wound care
experience. Now, the Facility achieved national recognition as a Wound Care Facility of Excellence by VOHRA
wound care, and the Facility’s QAPI data reflects its success with wound outcomes.

  B.    CHOW as of March 1, 2024 to West Wharton Hospital District, Admission to QIPP, and Corrective
        Action Taken to Remedy Prio Survey Results
         On March 1, 2024, the Fort Worth Facility was CHOWed to West Wharton Hospital District (“WWHD”)
and admitted into the QIPP. Numerous patient-care and administrative changes occurred due to the CHOW and
as required by WWHD to include the Facility in the QIPP. The Facility has already raised (and will continue to
raise) the level of resident care, and many of these changes have corrected the conditions that took the Facility out
of substantial compliance.
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REMARKABLE HEALTHCARE OF FORT WORTH
Response to CMS Certification Number (CCN): 676285
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          First, the Facility’s previous Director of Nursing (“Prior DON”) was not following policy or procedures,
including refusing to staff the Facility according to the company’s staffing requirements/policy and failing to
monitor documentation. That Prior DON was swiftly terminated (serving only 6-month tenure) after the February
12, 2024 survey, and on March 28, 2024, a new DON (the “New DON”) started at the Facility. The New DON
not only has exceptional operational experience as a DON, but she also possesses extensive surveyor
experience. Post-CHOW, the Fort Worth Facility intentionally hired this New DON for her knowledge of
regulatory compliance. The New DON’s experience as a state surveyor has already and will continue to aid the
Facility with providing ongoing education and oversight of the staff regarding daily documentation, ongoing
regulatory compliance through systems, and daily monitoring to ensure compliance. Since the New DON’s start
date, she has reconfigured the Facility’s patient medical record software to allow efficient transfer of all secured
text message communication into the daily documentation EMR modules, ensuring important physician
notifications and communications are documented in the patient medical record. This act alone fully corrects the
Facility’s prior survey results and ensures that this Facility will no longer have documentation issues.
          Second, two now-terminated Assistant Directors of Nursing (“ADONs”) were not following Facility
policy regarding documentation by failing to transition the messages on the secured text app used to communicate
with physicians into documentation in the patient medical record. Facility policy required the ADONs to monitor
daily charting every 24-hour period, part of the company’s policy for “Daily Start Up” review; however, these
ADONs were not adhering to this policy. Since the CHOW on March 1, 2024, neither of these two ADONs are
employed at the Facility.
          Third, the most severe deficiency the Facility received was not re-ordering patient medication timely—
Facility investigation determined this was caused by a breakdown in communication between the medication aides
and nurses. In addition to terminating the ADONs who failed to perform the required daily documentation audits,
the communication systems have been corrected with supervised, mandatory medication counts between shifts.
Additionally, since the CHOW, nursing administration is working with the contracted pharmacy to monitor
timeliness of order deliveries. These changes were made post-CHOW to ensure the new owner will not repeat the
conditions raised in the pre-CHOW surveys.
          Fourth, the new owner, West Wharton Hospital District, owns multiple hospitals and skilled nursing
facilities in Texas. They are quality-outcome focused, enjoying successful outcomes with skilled nursing facilities
they own. Beginning in February 2024, WWHD has been active in the Fort Worth facility QAPI meetings, making
recommendations and following up with facility staff on all action items. WWHD has a team of quality consultants
who work within their facilities, monthly, to ensure quality patient outcomes.

  C.     Pure Health is taking over as Manager of the Fort Worth Facility before April 18th
        In addition to the CHOW, the Fort Worth Facility’s operations and management is being transitioned to
Pure Health before April 18, 2024. Pure Health has the experience and expertise to continue to raise the quality
performance of the Facility. Pure Health currently operates more than 14 skilled nursing facilities in Texas. They
also operate several SNFs inside one of the largest healthcare hospital systems in Texas, giving them immediate
access to physicians and nurses knowledgeable about care pathways, necessary for successful patient
outcomes. Their experience caring for high acuity patients gives them the ability to immediately and positively
impact patient care at the Fort Worth Facility. Pure Health has been provided access to the Fort Worth Facility’s
EMR to proactively assist them with a smooth transition. As a part of the transition, Pure Health leaders are
currently reviewing the Facility’s documentation for quality assurance purposes. This affords them the opportunity
to immediately focus on quality improvement projects upon completion of the transition in the next 10 days.


         For these reasons and more, it is in the best interests of the patient residents and the government to abate,
halt, or otherwise reconsider the Imposition of Remedies dated April 3, 2024 against Remarkable Healthcare of
Fort Worth. Terminating the Facility’s Medicaid & Medicare Provider Agreement irreparably and detrimentally
harms the patient residents of the Fort Worth Facility, a majority of whom have no other facility available to them
due to their Candidas Auris diagnosis, their status as geri-psych patients, and/or their high acuity conditions,


Remarkable Letter to CMS
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REMARKABLE HEALTHCARE OF FORT WORTH
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meaning their condition is severe and imminently dangerous. Without this Facility—the only Facility in Fort
Worth to accept, admit, and treat these patients, they would have nowhere else to go, and that is bad not only for
the patients, but also for the government. The management and operations of the Forth Worth Facility are mid-
transition to Pure Health, and the ownership of the Facility is mid-CHOW to WWHD. It is indisputably in the best
interests of both the patient residents and the government to abate, halt, or otherwise reconsider the Imposition of
Remedies dated April 3, 2024 against Remarkable Healthcare of Fort Worth to allow the Facility to remain open,
operational, and admitting patients through the completion of the CHOW to WWHD.

       Thank you for your consideration, and we are available to provide any follow-up information and answer
any questions you may have.

                                                                   Sincerely,

                                                                   GUTNICKI LLP



                                                                   By:
                                                                         Liz Boydston
                                                                         Its: Partner


                                                                   and

                                                                   REMARKABLE HEALTHCARE FORT
                                                                   WORTH

                                                                   By:




                                                                         Laurie Beth McPike
                                                                         Its: President/CEO



                                                                   By:




                                                                         Jon E. McPike
                                                                         Its: COO




Remarkable Letter to CMS
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Stats on Pure Health

Per the following link, please see Pure Health stats below:

https://health.usnews.com/best-nursing-homes/area/tx/purehealth-transitional-care-at-texas-
health-presbyterian-676410


    x    Current designation due to CMS 5-Star rating - Best Nursing Homes, US News and World
         report

    x    60.2% of residents were able to return home compared to 53% nationally

    x    0% of residence found resulting in a major injury compared to 1% nationally

    x    4.8% of short-term rehabilitation stays resulted in a serious infection requiring
         hospitalization compared to 8% nationally

    x    20% of residents were hospitalized during their stay compared to 23% nationally

    x    4.6% of short-term residents needed to go to an ER during their stay compared to 12.3%
         nationally

    x    In 2023, their Texas Health Presbyterian location only had two minor deficiencies sited.

    x    Currently, their Arlington location is also a CMS 5-Star rating facility.


West Wharton Hospital District

Per the following link below, please see SNFs owned by West Wharton:

https://www.hhs.texas.gov/sites/default/files/documents/sb8-nf-eligibility-may-2022.pdf

West Wharton Hospital District currently owns 32 skilled nursing facilities, totaling 3,988 certified
licensed beds.




Remarkable Letter to CMS
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WEST WHARTON HOSPITAL DISTRICT SKILLED NURSING FACILITIES
                                                                                          License                             Physical Address
             Facility Name               Facility_ID      County         Service Type                 Physical Address City                    # of Licensed Beds
                                                                                          Number                              State

      BRIGHTPOINTE AT LYTLE LAKE          106765         TAYLOR       MEDICARE/MEDICAID      307730         ABILENE                  TX               120
     BRUSH COUNTRY NURSING AND
                                          005263         TRAVIS       MEDICARE/MEDICAID      308248         AUSTIN                   TX               118
            REHABILITATION
BUENA VIDA NURSING & REHAB SAN ANTONIO    004795          BEXAR       MEDICARE/MEDICAID      308534      SAN ANTONIO                 TX               222
     CIMARRON PARK NURSING AND
                                          106904         EL PASO      MEDICARE/MEDICAID      307738         EL PASO                  TX               124
         REHABILITATION CENTER
COASTAL PALMS NURSING & REHABILITATION    005391       SAN PATRICIO   MEDICARE/MEDICAID      307367        PORTLAND                  TX                97
CYPRESS HEALTHCARE AND REHABILITATION
                                          103551          HAYS        MEDICARE/MEDICAID      307274      SAN MARCOS                  TX               174
                CENTER
      FRANKLIN HEIGHTS NURSING &
                                          004985         EL PASO      MEDICARE/MEDICAID      308573         EL PASO                  TX               132
            REHABILITATION
 GARDEN VILLA NURSING & REHABILITATION    004712        WHARTON       MEDICARE/MEDICAID      307536        EL CAMPO                  TX               150
         GRANBURY CARE CENTER             005089          HOOD        MEDICARE/MEDICAID      308556       GRANBURY                   TX               174
     GULF SHORES REHABILITATION AND
                                          004951         BROOKS       MEDICARE/MEDICAID      308199       FALFURRIAS                 TX                86
           HEALTHCARE CENTER
   HERITAGE NURSING & REHABILITATION      100297          BEXAR       MEDICARE/MEDICAID      307368      SAN ANTONIO                 TX               150
  LAKESIDE NURSING AND REHABILITATION
                                          105220          BEXAR       MEDICARE/MEDICAID      307259      SAN ANTONIO                 TX               120
                CENTER
LAKEVIEW REHABILITATION AND HEALTHCARE
                                          004769          WOOD        MEDICARE/MEDICAID      308291       WINNSBORO                  TX                60
                CENTER
  LONE STAR RANCH REHABILITATION AND
                                          004571        KLEBERG       MEDICARE/MEDICAID      308550       KINGSVILLE                 TX               146
           HEALTHCARE CENTER
     MIDLOTHIAN HEALTHCARE CENTER         106083          ELLIS       MEDICARE/MEDICAID      308284       MIDLOTHIAN                 TX               120
MYSTIC PARK NURSING AND REHABILITATION
                                          101669          BEXAR       MEDICARE/MEDICAID      307315      SAN ANTONIO                 TX               119
                CENTER
 OASIS NURSING & REHABILITATION CENTER    004619         EL PASO      MEDICARE/MEDICAID      308557         EL PASO                  TX               130
  PRAIRIE MEADOWS REHABILITATION AND
                                          005344         WILSON       MEDICARE/MEDICAID      308260      FLORESVILLE                 TX               120
           HEALTHCARE CENTER
     RENAISSANCE REHABILITATION AND
                                          004362          ELLIS       MEDICARE/MEDICAID      308552          ITALY                   TX                74
           HEALTHCARE CENTER
  RIVER RIDGE NURSING & REHABILITATION    005351         NUECES       MEDICARE/MEDICAID      307291     CORPUS CHRISTI               TX               120
    ROLLINGBROOK REHABILITATION AND
                                          107101         HARRIS       MEDICARE/MEDICAID      308202        BAYTOWN                   TX               130
           HEALTHCARE CENTER
  SOUTHERN SPECIALTY REHAB & NURSING      004235        LUBBOCK       MEDICARE/MEDICAID      308576        LUBBOCK                   TX               144
      ST JAMES HOUSE OF BAYTOWN           004682         HARRIS       MEDICARE/MEDICAID      307298        BAYTOWN                   TX               105
   STERLING HILLS REHABILITATION AND
                                          004635          NOLAN       MEDICARE/MEDICAID      308553      SWEETWATER                  TX                96
          HEALTHCARE CENTER
    STEVENS HEALTHCARE OF YOAKUM          004566         LAVACA       MEDICARE/MEDICAID      307529         YOAKUM                   TX               106
       THE RIO AT MISSION TRAILS          104934          BEXAR       MEDICARE/MEDICAID      308538      SAN ANTONIO                 TX               124
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TIMBERIDGE NURSING AND REHABILITATION
                                        005023    JASPER    MEDICARE/MEDICAID   307270    JASPER     TX    114
                CENTER
   TRUCARE LIVING CENTERSCOLUMBUS       103831   COLORADO   MEDICARE/MEDICAID   149378   COLUMBUS    TX    104
           TWILIGHT HOME                004861   NAVARRO    MEDICARE/MEDICAID   308578   CORSICANA   TX    102
  WEST HOUSTON REHABILITATION AND
                                        106098    HARRIS    MEDICARE/MEDICAID   308242   HOUSTON     TX    161
        HEALTHCARE CENTER
 WEST OAKS NURSING & REHABILITATION     005348    HARRIS    MEDICARE/MEDICAID   307383   HOUSTON     TX    136
   WILLOW PARK REHABILITATION AND
                                        005354   BOSQUE     MEDICARE/MEDICAID   308551    CLIFTON    TX    110
        HEALTHCARE CENTER
                                                                                                           3,988
